It is relators' contention, on the motion for rehearing, that sections 2066-2080, Code of 1915, provide for a contest of all county offices, including those not strictly county offices, but exercised within a county by officers residing therein, citing Carabajal v. Lucero and Trujillo v. Sandoval, 22 N.M. 30,158 P. 1088; that the commissioners of the acequia in question are such officers; that such remedy, by contest, is exclusive; and that there was therefore no jurisdiction under chapter 28, Laws of 1919.
We do not feel called upon to determine whether the Code sections cited afford a remedy by contest in case *Page 88 
of all county officers. See the discussion in Crist v. Abbott,22 N.M. 417, 163 P. 1085. Nor do we deem it necessary to determine whether, where such a remedy exists, it is exclusive of the remedy afforded by chapter 28, Laws of 1919. These questions, if determined in accordance with relators' contentions, could not change the result. In order to bring relators' case within Carabajal v. Lucero and Trujillo v. Sandoval, supra, it would be necessary to show, as appeared in those cases, that the offices in question were such as were exercised within the county by officers residing therein. The record is silent as to whether the community acequia in question lies wholly within the limits of Guadalupe county. Unless it does, there is no room for relators' contention. The jurisdiction of the district court is not te be defeated by writ of prohibition on a mere unwarranted assumption.
It follows that the motion for rehearing should be denied; and it is so ordered.
PARKER, C.J., and BICKLEY, J., concur.